                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,

             v.                                             Case No. 16-CR-51

DARIUS TOLIVER,

                   Defendant.


                      REPORT AND RECOMMENDATION
                     ON DEFENDANT’S CHANGE OF PLEA


      The United States of America and the defendant, Darius Toliver, who was

represented by counsel, appeared before me for a change of plea colloquy pursuant to

Fed. R. Crim. P. 11 on November 4, 2016. ECF No. 57. Mr. Toliver consented to my

conducting the change of plea colloquy, as did the United States. I explained that it

would be for the U.S. District Judge alone, not me, to enter the plea and that my role

was to conduct the plea colloquy and then to prepare a report and recommendation

for ultimate disposition by Judge Pepper.

      After Mr. Toliver was placed under oath and advised as to the implications of

being untruthful, I questioned him about his competency to go forward with the

hearing. Through his responses, I found that Mr. Toliver was lucid, intelligent, and

not under the influence of any intoxicants or substances.

      I then discussed in detail each of the subjects specified in Rule 11, including

the rights he would surrender by entering a plea of guilty, the maximum penalties



       Case 2:16-cr-00051-PP     Filed 11/10/16    Page 1 of 3   Document 59
associated with the charged offense, and the authority of the sentencing judge to

disregard any recommendations in the plea agreement and to sentence Mr. Toliver at

the statutory maximums.

      At the conclusion of this colloquy, I determined that the guilty plea was

knowing and voluntary and was not induced by threats or by promises not contained

in the plea agreement. I found that there was an independent factual basis

containing each of the essential elements of Counts 1,2, 3, 4 & 5 of the Superseding

Information (ECF No. 56), to which Mr. Toliver was pleading guilty. Mr. Toliver

advised that he was pleading guilty to the charged offenses because he was, in fact,

guilty and that the government could prove beyond a reasonable doubt that he was

guilty of the charged offenses. Finally, I found that, in responding to my questions,

Mr. Toliver was candid, respectful, and non-evasive, fully accepting responsibility for

and acknowledging the unlawfulness of his conduct.

      NOW, THEREFORE, IT IS HEREBY RECOMMENDED that defendant

Darius Toliver’s plea of guilty be accepted; that a presentence investigation and

report be prepared according to the schedule set by the Court; and that Mr. Toliver be

adjudicated guilty and have sentence imposed accordingly.

      Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), Fed. R. Crim. P.

59(b), and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of service

of this Recommendation or prior to the Final Pretrial Conference, whichever is

earlier. Objections are to be filed in accordance with the Eastern District of


                                           2

       Case 2:16-cr-00051-PP      Filed 11/10/16   Page 2 of 3    Document 59
Wisconsin’s electronic case filing procedures. Failure to file a timely objection with

the district court shall result in a waiver of your right to appeal. If no response or

reply will be filed, please notify the Court in writing.

      Dated at Milwaukee, Wisconsin, this 10th day of November, 2016.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




                                            3

        Case 2:16-cr-00051-PP      Filed 11/10/16    Page 3 of 3   Document 59
